
53 So. 3d 1130 (2011)
Shawn SAFFORD, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-3674.
District Court of Appeal of Florida, First District.
January 28, 2011.
Shawn Safford, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Brooke Poland, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
Petitioner is granted a belated appeal of the April 20, 2009, order which denied a motion filed pursuant to Florida Rule of Criminal Procedure 3.850 in Gadsden County Circuit Court case number 05-734-CFA. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
WEBSTER, ROWE, and MARSTILLER, JJ., concur.
